         Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 1 of 101 PageID #:222


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   THOMAS G       . BRUTON    T
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CLERK
                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION




                                                           1   .16-cv-1   1   180
                                                           Judge Jorgef. Alon$
   (Enter above the full name
                                                           Magishate Judge Midael            L   Mason
   of the plaintiff or plaintiffs in
                                                           PC4
   this action)

                                                         Case No:
                                                         (To be     supplied   by the Clerk of this   Court)




   9q?, Dur$      lf,L*       l3a^'^!, cf o ,ut rl   ,




                                                PF,s?*-,


   (Enter above the full name of ALL
   defendants in this action. Do not
   use "et al.")

   CHECK ONE OIILY:

       t/          COMPLAINT UNDER THE                   CM       RIGHTS ACT, TITLE 42 SECTION 1983
                   U.S. Code (state, county, or municipal defendants)

                   COMPLAINT LNDER THE CONSTITUTION ("BMNS" ACTIOI\I), TITLE
                   28 SECTION 1331 U.S. Code (federal defendants)

                   OTHER (cite statute, if known)

  BEFORE FILLING OAT THIS COMPI-AINT, PLEASE REFER TO "INSTRUCTIONS FOR
  FILING." FOLLOW THESE INSTRACTIONS CAREFULLY,
     Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 2 of 101 PageID #:223
                                                                                      W    ta{8


I.    Plaintiff(s):

      A.      Name:       filwn S                    Eef TT;/
      B.      List all aliases:

      C.      Prisoner identification number:             B - L^ezt L
      D.      Place of present    confinement:           Po   n   t; e.    L^      (Aortl <=
      E.      Address: Pa,l'-racyt6/Z[t                                 C.a0oto?
      (If there is more than one plaintifl then each plaintiffmust list his or her name, aliases, I.D.
      number, place of confinement, and current address according to the above format on a
      separate sheet of paper.)

IL    Defendant(s):
      (In A below, place the full name of the first defendant in the first blank, his or her offrcial
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.      Defendant:          {iRqV              rilitlraU<
                                           J
              rite:                0,J   k*)   o.<

              PlaceofEmployment: 9l-&l-o v fi                 I   <. C, Un'/Z<,
      B.     Defendant:            9l'f*l'on
              ritre:               l^,) ,\R.J.U[

             PlaceofEmploym         ent: l{#n,(yll p C-" ("nlh-,
      C.     Defendant:

             Title:                                                                                        ofhK{.
             Place of Employment:                                                                          i'r   r/   )
      (If you have more than three defendants, then all additional defendants must be listed
      according to the above format on a separate sheet of paper.)




                                                                                          Revised 9/2007
                                                                                      Pfl'J o/4
             Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 3 of 101 PageID #:224
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          Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 4 of 101 PageID #:225
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       Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 5 of 101 PageID #:226




III.    List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
        court in the United States:

        A.     Name of case and docket number:              t   f cr/ bqb'l

                                             lawsuit:                           1*'t Av t{
                                                                      J f-
        B.     Approximate date of filing                        AU

        C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:




        D.
                                                                                        -


        E.     Court in which the lawsuit was filed (if federal court, name the district; if state cgurt,
               name the county):

        F.    Name ofjudge to whom case was



        G.     Basic claim made:




        H.    Disposition of this case (for example: Was the case dismissed? Was it appealed?
              Is it still pending?):




        L     Approximate date of dispositi    on            S{;"ll P      u'crlfu|'


IF YOU HAYE FILED MORE THAN ONE LAWSUIT,TIIENYOUMUSTDESCRIBE THE
ADDITIONAL LAWSTIITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MATI-Y CASES YOU HAVE PREYIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND F{LURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIF'FS MUST ALSO LIST ALL CASES THEY HAVE FILED.



                                                                                             Revised 9/2007
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V.     Relief:

       State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
       no cases or statutes.




vI.    The plaintiffdemands that the case be tried by a jury.                              trNo

                                                              CERTIFICATION

                               By signing this Complaint,      I certifi that the facts stated in this
                               Complaint are true to the best of my knowledge, information and
                               belief. I understand that if this certification is not correct,I may be
                               subject to sanctions by the Court.

                               Signed   this / {            aay   of   t{a{ontyqz0_l-h-




                               (Signature of plaintiff or plaintiffs)

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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 7 of 101 PageID #:228


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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 8 of 101 PageID #:229



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        ,l*r,r\;rf frr;th{s pi-{-li ftr+,trf{ i,,/
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       A atgnfu,       f ,t,tint*kt/- y;l/h f,'kk ,r ,/r*'
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                                 {)o,sso,r/ [r"l(;47 &'uH
         k4,,
                                   (_g   )
     Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 16 of 101 PageID #:237




/1   )   P   l^ r,   +ft       {,,)   R   fe {+ flRtz/+nrLo da*r<, L, yf */r.
         C.tl(       lo   ntJ r4ro,r   ;       nrJ   M   l(;^r   1   +/^+ +/r" /,,u l4,tr
         fi,trr b"'r^Hr-
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          ruy+i(,                           f {1,ev6,vea rufi< u)Krfa 1+,
             zx** *l                      P'l7wf,ft tlks plz*l v,J                 Cl
             h'l a           yi   ,cfts               Tv-tu.rui7g"oqtann;.s--l-t;-

 30)[)a{"*Jn*i-                            Mcn{     hy* D^t t^t-ts: ril,+s
          Lntlsj           h      0z      )r   \   11 by fi rur,,r*;i/s otil;e
          luc ry':+n7 3 oge+rrl t^t1
                                         6r, rv1 u'l i*l
           A 1+ u-/;rJ',
                         D zfen,d^*)' dfianr fuV r+ (hnc
          4'b fr lt;^r/t{/s cu ( iluJ $Lh.
           ,l
          fhz
                                           ,l^;;
             b,,     *'l'r#rr: r'':#tr*tr]y
             fr-/luu/;,l {)rE,Jn*/ fu/J f Int,,rfi,v7-/l*l-
             tv ttlts n b urt t" *r, /o*n- ,{tr/-L,
                                                    "K
             0ff'oon er/o.,t/J hfu + ,Luo I *,:|-fi firi,,
             hetnve<, )t" bJ/4 0a,r;y,1 ztfrlw Aill M?ul'l
             ttc1- 3Ln,y yuK'/'rJf'''7^t c;:l i'r't fup"tt''
                                                   Ur)
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     fr;tJ       *7 [; a pLK t\/ o6t.
                'Jr,
             J.^
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       ;rtol ,!1 hE n/c,t l.,J le tl
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          /                               -J.rct c,,/z llp-./
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          Clo A il&r Ulra a- h fl r,v*rf€s           o
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          +L, >re_ utl-: khl
                              p *f on/" orvJ(_
           Pln;,*ir( nplaia -,6 O'/,zA*
           +-/*+       l"   Mat' rr rr*.l A'tvJ
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           *h" ht"od DN *Aa *wz/                                       A,,
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           1* p ,a ll +lA ,/,t,<5<,_ 4L a-:teJ
           Pl*i,t*;r 1.7 l. ,J rJ t+ h,llr<
                                  /r,,/



                                   Lt {)
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oul' 6s rr)q.d ru[ n l/n
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hnpprt nd Pl,+;rhrr' <x,pl*,uc,.J
                                      ta Dea*ch.*
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                 '*;J                          Cf,
 {rut r\,  _y
                * * l"                l*    rt),,rl,J   kt J Sornao,(a
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                                            ;W- 6,t*                 *,rd
       {no p               J Plo;*$;{/ L" tF
                  Gntsirusn/eis k^r
       0o6,tol*,t* B*j&x dK tLz./;,m/ ldi'
        'btl- u,ftt -h tt          *lz      N   tKs<-    cI)   44   &-lin   r^.i


                                L\;)
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  ,^r,     ffi;^t   u*ua      U+a *A,             SAr    r/_     hntl
   c-L,A,r  , [) zriruJ+,t{ R a l.&n
         fJN,4 JrJ                   ,\,lQ_kK ,J}rnp,
    hei:t(,           ; ks d tt/trA><t ont/ *Au
    3 Ai/+ kury*+ o/*<Jnt, J/o Ea)1",5
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        w)*f jul h*6,y^ +, i* nr[ /A;**,{{,1
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       hrtC eXfln,vreC,ry/ S;Ju**,u,,r _/o' ,n#r!f   v

       *nnd tfifiai'reJ l*u *r,t,
                                   ""1,        hrrn.
                                        ,{ ,,f                         i       u/4^
                              Lt-l',:
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  int uletl bql,(f  6n h,n + rWl fr
  {r)   tJ**. oi uirx Ju ry
                          t ^t"qNcl or^alJ
   bz       hri p,,,rl "    Af*e*
   f)qlnn,ur* f)u
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           Nu(bz,TN;/-zac!           oF 4o [)n.Vru
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    ec,,l*i"rue.J
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        f,;'          *;nn ffUr Dz6d***
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         h,rw u);*h 11* rr)eJ-*au
                                  unnJr*l
        +r"A* ic rnJ)                       I
                                  wzt gnr,ila+l_ uj,o ;+ i, J
                               S rf
          Ala   onl   a   U I (zJ ho< sAo, L,t ,4 s ,q I Ran J ,J
          b
          /A/   'thz {-       lno,r   t< hrl;irl ;rr 7   e   ,t   J   [,J   il
                               (tqt
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,i u;l-         b;y      rb t     I   th+/- P I rirlr   fi. rd n    f^r y-uxe c!
mJ             A I e,nJru,,j,.    T xt sLarJ tt{ p lrrhf-f             'br,*7

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  *,1C d.l.av iot V; ,rvnt*rt t, b*   r,
                                        Cl aq* ,zc/
    A^rJ LxtJe/rt u{ pln,,,t *;ff (L/tr, 6K cnJ
   +" Al ku frl eJ 4.2 S hn^ul Bn< rul h
    D os( o nl A ;= ur/ au,vJ fh eru qA fr 8;nJ
                                              B;n,
                  %;* n tJ i;llhy
       t e,e"a , l?r,t;*   i;l/h,1 ,#!t    b,ln of
                                   ,)"|{,t bl,  0
       +Lu czll d,,uq u) ho"h wA\ A rr<rl;*l
         K,'sK               o{
                  i^t{z-/-;rt- P I *;*/;,,{r frr./t,
        u\h,KL SFfll * *ht,r.J /, h. Violfbl

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       _S-^ | - t       .t
                 J us.*tLeJ u 14t .l,A Lln *'I 0^,,v;t;liu^t*,
        Atlrl *<Ka'l +1,+t- rtil /tt4)on t/;dl+/*r,,
                                                     b. ,nJkre",t
       -fb nul& cxft+t qa Li vnbl, L"+ 4r" rnnl d {)fi"jJ<,rt                             ,



       Rrn.L        , /4 ica+ R^ceort fnhbrrt's, iwti
                         l,r{e-s4t-iun1                                               ,


    SP ;J,rer , wu* a^lli/sdqtC 6R ,q p,1*ine,
   kf#yf;olt *ina b rr^or/Ag i,V ulkl ,ta ',,tffi
                                           u {)
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  .Plm#rr'F {1/f            fr^*o},rs, eh,r-r;n, rr,"o_e
                        U,zte{yry
   bor( ou* fiu,w(                     rr,rJ +<yid/
   Na* 1" hA<tf4 tnr +hu ffntrl frNl n,/Jn,
   tl,^* D frA ru,rt sh * *ry hy {rln;,.r/rr7. b"*
   A         ilz"K> h+rR Clrnrz b,fl( 7,t #". An*l-
       3 frrrw       tf *.    T            k'q,/* b.r^,r      lw vr*.y   rfl r,1s*t,.r
       flz,rJ,*tla',     7b *hr> q ,ruh;*h r ho/'fi,*rJ
        of           rts* fttl-ze M*j flt,al i,r firv,fi*4
       0, ntr{anwr{ az//            Lptdu*iqa' utAich Wfi # Aet
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       A ,lsqn,+ I                aaz,{_


a,t)     Dsr'oluj fr,,tJ*
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         o{t;enn, uk hs                                                 u,/   *s 11r-
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         { h^,,s, lnsr n^!^io'? #ruffif,f,^
                                  L,J




         0rPlai,,{rui         lW i             A4rf   -/"   )u      +b        a.rl*
                                        trr)
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A,IJ. h*    n(
           Plairf;{t d,J h*w       ,b + t        i           *,
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.D   or    0a     -f. *h* *r,ntn< u) f nr du u^r
                rnx b * ,x
r+,rJ -lnlJ Plo;&rrr +Juf L,L tnt,,tlJ Aeva-
4-D h"l'.1 / rs Lo,,,te { rnvzrqaL p l^ rrf;rr
 €xfrl+r^ttJ1" Ja//^r 0,a *1*t l" /-rlJ;+
 h rlJ r+ n,rJ p>{ h, 9 tzK {, n I ;e,rtu.**k
                                            ys

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 fzl{ rrLE No - 6K #rn Kze.<d */,rx.
   r) M.; Po*L* P'#y c tr/- c frty c F
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     ry     s +A;' l*lJ ,*nilT"
     *,o rtrl punh
                                                     *nr.J'Aur,*
                                  fdfr/ pN k
     F:h,u y- V+a.l          ffin
                       +n /rn.<j, A TruJa**
     haryu* 7 ,t-l-'
      t/
                    untf;l ; (e ff S/fr/{,r;/le
     Confra*otil 1e^r& 8-tO-/6, T ulns Jznt,TJ
lw   r    r,;frk fu     ful runn    ruy   >.tt dh ic h i s ft J],rsfu
                             u7)
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              t*+h);shal #u,nn,t RW
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frilJ      uq/nt(                                       7s

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                       , Ull ubryJ;jict,s , rrLDN , ta),,                            I

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      beu Kae{,,nt*;Llp 6n M i,)&tnr *ktJ 4.h's,
      t+.( o{ en/anflry ; olA,<- Arn/lh {'}tuhb'ni
          *h,+1- (bnp-            !'ft    s;   r,/   ().    b,.f 6<cl, ,l r,'r/r,
                                     LJ   T)
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tJ Ofricl k uN.Lp/ . -{7};z h,/.d< ggrt/ i u s(/,+(
                                            ^/u
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                   y.t +o 11* Av*/tos,.*, , i,
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           PI*xr/-;ff wr+s Subjer* +b
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          lb L; ln r^t f_ A^r*
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          0^ sl*r/J /wnu il,vo,tol
                                                                 *lu/-        fhp^r+;ff
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                                        ui)
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 ea,,t)r/,o*s *l"r fJoru*iff dzR* rl;^li,t7 w,{h
 r)^''."V'/r f1'ffrY
                        Qniev,t,'rca fr,,,;' 0d^/
 *, l*r", th; Gr<izy'Arlce4 nuibu<    f
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  -/, n J rl Rees i,N q                                          :g



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  k/ f )l   ,,0r. kc+u sn                  *OaJ"*\ ,*^r'1,
   A sE     tshxJ- s;7vb "1,*
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                  of
   y 7J" A;, w,,tar)*") N+rq,q-        ^/
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    ry Ouz pl.,k:s R,y7. **J €Wol
     B" /-ee/';o,,1 ;7h/L
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    CrRitu4,,lcpq,     /, b. R,r.,tra,4sJ j^7,
    td A RJ e,t      rl,,t )   z<, l* i:      uN A rn;f a_L )o   ,
    (hgir,,rlttUs
      waRz,\,b!:!!'*/)af     tr, ):tt{                               -7L
           'b z< sl-dr",1)td
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                                   6o\
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      Lh,"r(eC cf p,v t"d whp,.r *l*
     NtRa cle+<l A,t              ,*Wr?': d/r::;;
      Tr^'u,,r:l ;ur ;:;'ou?
       b   U K*,t u) i,.r / o^t i
                                                        *: r*
     #l')J                        ^t f I ,+;,r/-:ffo            ul I
                )* r
            r-, ;'     I*' :::; y" *:
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       4<in/'t/ce"      Ld   a3   A c,l*d4 t(o
                                                           :ry
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       'n uY *y            ; Ju,vrnJ , f lrt r^rlrtrF il*s
           i nr gl-uol<J
                    h s/*al. tAu
    o/a,,q Nc 9p-o,r'rn:t ,:: Pfr"aers
    dunr h +rr *tr',-Jou'j'.X,yL
     C" I ;Lr^at-n r,,t J t
                            f6.<e^rd*, tvJ vt
      o/ /h,;,t*-t^ &+s,.                       l**ru                 o

                                    /j,*o, K,yfr
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    w Aq d r^/ ct S L*tz*
                                 llz ( o6Kt*;o,^/*,(

                              Le ))
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 Lz*l'nr, wherr or,/ b-:b-l                        b plrruf;{f
  L'o   n   1'n fr         n   ipl4rteo cbn;l       ;-   {J *h,b R^t*h
                      r7
    i u {r,/r*,-,,{"
               f R^b)en /-ho4 it-,-,,r*,-,6 u#s
    lr,n,*J^wr+h tuo\J o+hn7 isttre< g.t
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                                                          ;   eytrdr.n* _h

     'rl Rr-eie,ro rt eAA6.l-.S1rnz fu*lur,rg-
      k3 ry o.^T rip/*,tu$
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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 29 of 101 PageID #:250


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  Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 30 of 101 PageID #:251

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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 33 of 101 PageID #:254

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dd-atltr?                      4L          frno,rr*   af fu*oAns / to,r[;
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       fr h/n Cr,rt fzJ A b trr,-* /t r,r,n*,t
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       4, Kql;rru ry boJ;/1 fr*o+,i{*or
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       -LV                GIR;"/.N      o-z dAk"l               7_Ll ^l   f   Deft,{da^t/.
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            y)ica-, fl^;.r, g;eJi u;1l^** j4,, *tnzfr*ne
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                                   *r:^n0,, *                                 h r,asQ fi,,J
                        -
                          ,tu,i,,l tz,s*;y*u ^,r*
        i ru c!"p r,,uJ +./\
                                                                                       'ficr,,/
                                              frl *i < !                 ,,f/i
        ,4^-o'Jn,t,,..
        Q niaua,,rcec  -
                        ff N
                         nl - I
                         P I *;^rtr
                                                     /-,,'
                                                                 ou   /J / Inl +a
                                                                       t L
                                                                             aru
                                                                                    i            'J



        ini Cun" 4nnl+h; Vftj Rrsillt ixfury
        h         LAR, (r) Ko +.hq b,,.n3 Rp,^,teJ
                   Rr
                        fh+
   b - A7    -td'           Lrv i,,r1 u,,tJ r /; rJs                -   D    zin *J a ^r1-

                                              [;;;
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     v ;o   )d'"J nrutri( g+h fr nztl,n y* rrwt(;4,i
                         P)

     h;   n     Sr,f{r,< C tille I ,,       uMuStt   *l   p t,t,v,< h   ffk   rL" n lrr rln
     {fiuJu DciruJ            *r*
                             h fih,,rso^/ & kLr*f^
                                        3ur   nn
       i,vJiffz€r^t? h flnr,t*;r-f{ /**n ,)q,^/a+Aho*.
                                                                         7,

3r) Dofr*rl*,,t;          cl o Tr+Y Lfi,
                                        c/c il r/(;r*                                p la w
     P I t,;,tl;   ir     rN U /l *l q.J or,{ ,/ a u - / s-                          '
                                                                                         0O7,,
     P) n i    **i ff     rrnJn         D   z{e^,Jr+**; df,              _T
                                                                                         Lu
                 Vu   1,,)illr,+,rt, frw4frL           ^y
                                             *1*l- Ullul qa
       hoJ        rnnld, ryJ,;e- r,.aall,
                                            *uJ k brt_le*
      tr) r tdou
                   A,,rJ D erwd*#i d ; ,frayeJ
                                                   zcl
      f ) o,r/r f{*
                     fion/lh ,+rJ S n n+,7       h
                                           ^rAre
          c4w   3s      ( r,+;uliF{
                                        c Eu,      r ? ,lnu; un/
               rh fr rqex,Jrwt wA ;, l,                                            urr>h rrw,f
           B                                                                  {)
                                                   rrwln B.lh           O-et"rvJ p**.
     cJ"l      rh'uert, i,d,-f*fru./- /o,*n/ pr*th-ir
          Co N Sfrl-,a.f-;    ow   n   I Rr7fik" ,b b, pnfr,&J.


                                   3 7)
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3   3) 0 t iru,l n*/s /;uo fu,lt,u/ R frow * *,rJ kW,,/*
      Du*ak u/og,z cl n l,LrnJ-rA 7alvfr,<oil- /e
       PI   *;rti fi.'s tt tU i     +         s   i sawhh r,l
                                                  fr.fri-,/

       ry   ktl-q< L";.1 r-7               )d o{ Al f ullfl le        o

        )4t4*h C* gct RN's a,v d                       I ',t   >s J'I*L
                                                                 u/d
                                                  I                          Co

       (2utz f l*; * J-i f€ ; "ir                  8,J D e{"nJ+"*;
         0 ,K*^tJ-       ,{J 13tr**,,t hl            4A, ftu+l,br,4
        ,b finv-e, Plrt; f€      ,,r,/;    xJ     brl- /-ur,tzJ h il;
         (/L h Pl*iu)-;r7 Sbf6o,^r1 Go,nt bry

            i N 1 rtK,x1    h; n s< I     /, fr,n               hrc,//*,,r   ,*/"u,
                                                                             ur,e^g
            j+l' Y, ll kf*Jn,lL rtf{roeK-s
             /o tl hfi"u/- r-rta Plo;#rfr sui4rcr
               c &,kl       ;
                            j
                                t4tur     w   nl      P tt   ui s h   r"*il-l- -
       31)      D p {e,vql*,v   {
                 ct a   n,riyo'              l; r).
                                ^:f'{*ir'ro
                  t)aRz clelrb"pary J ,'?r*ru
                                              +b   rnr




                                          Gr;
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P t,o   iu*i   ft'r      nxcl r*rl Nesr| oN(L Pln;,tht/b
      p Cofe^tJ nr/s flr/nru c( A
 N,4     cl
                                    Uf
   0^l hr: /ur+ ftKrn ffi^ ,)l.ss il*l-
   w k< b" rt i^t /-h. w tu/. A fl-cK
   fl",t wz 6,lY AulftRz L.i.oopl^.,*.,
    n,*J
    Yl'*rthi.{ Inr             c<t(,h /r/,1 , pln;^rtrrT
                                                                          S)***l
        O<{eu/ nu       le      D z-
        rt    * gt*,.J; -fy
                                                  ^,:f7;'*ff'
        ^;l
          c
           ^,:;,;u',
           (aa,l
                                 I':             :^:u v
                                      q,+l pr6 sA"^wL
                                                       r"*:
                        i   Qr/u;
                                                      rttt               g+kl
              fr dnotl/,n o,rrl- r roA!iu,,t.
                                                    -fu/         Sfr^uld        l**
               U ll a.rl 4      Nu B >z          *,vJ   Flo   tr+r   rf< u)c,,r uJ
                irt   ,iury   sl,rr   tl    ,n,," LNnnt ln*+r,t          i,,r   **,t
                 i! /,         *l*-s/- J /,,<, 6s                          p)aw*ra
                 +" R**rurn *<P**rux*" D ofnudn,^t/r'
                  hkKz 0! f,,t b n<ol-, rt J i tfznt,r* *"
                                                   ;



                  fi,uft;t<; nrgruI eruJL
                                      (_1   1)
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3   t)   A e.fe^rJ n,,r/      k/zsf          /lq   aC     p6    */;F-F r,,r
         Le lt   h;x       fr l+h,r7h            ph   r*lprf i,,r 6sneJ
         {)efodn^d--         ulof fl.tr il"                     o,e//H;,f
          hl   ts   tl tt / r vA b lz n nrJ      S/wa/a be_ Oo,v d.t^*-nJ"
         Do     fu,rl*w*     r,/e   g? a/ru c/n l; brrcnrn f N
                                                                          Jr ffiar**
         +a P l*rrt-;i/               /r/p   +   l*A,     S,+   f^ry ";   9b^Ghrto^t
           Rr7hl-L w A,*h wwseC       /4* ,/*|*/rrr
            C&tzl i u^lusu+l Fuurs h      /-  V ,o l*hy
                                        ^
            I I r; d-t ff ! t rt-t fi ,nnndrn,vh,
    3u-)   D r,€"oJ     *^t* J271, o                  c


         i^t   Jrrr,*-* J, Pla,u+',7r,*tr!/m
                         -i
           l)ff:,    .,1;,            ; ?; r{;,Ui"'
                     l,
           / raL" Re l;"tra. h,r,j x_ / tr ,7rn*a
           (At4.,,y Pl,+;,,ttrff -rb Jn6r*f-
                                                cx/
            ht * s< tf crt -t1* /n nJ htC k*
               or
                    fl     ry6J, /r// ='l ,,lor* fif7-6-
               fip"{n^t/+,,il- (tru ofr
                                                      Stilie"'l;#,
                               (q'.;)
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.K*uwnt Plurr+iff Cut/J'N/-
                            ).^l,t hr,                                   B,r,,y_lu
 5f,         )-       /ur*
                     furi? y,,t6,<ruJ plqi#;ff
                                tytrlr<
  hrrJ 1" frklkua h;n *', , a?n &used _/j"^
  P   h; x{< f        f     C,{l^ttl    ; ,,ruqsu*l pu,ffsh ,n**f-

37 ) T-Hn          *pf A *;a D;6'"1ou
                          Deftxcj
      Aolclwr,l h)*s         ?        Jotl"t
                        i^r chqw cl
      r;",       :^:,fu*              ntl
       *,,r c';^" ;
                   !: t
       n<nbqx.<, **^,,fu^.;;,:y*y      ff.e(>,',
                           pI*,r;;; rdn_a
                                       r:
                                     ^,:
       fi1   A
                 ^/   /     I{,ra,tn,,rJfi A /r.rf              +il, ir, ;,r/1
       p Co,t&rtro{,s e{ F U)u' ,d
             Sf*-/a,t           iII   e e, (aq*p,< Co,
                                                    |    p )*C
             at r*h          tk        uzlfu tl^ a nsJ fteso ci+,f_;_,J
             '                                         r                          t-
                                                                           r,r'
                 {, 1";",'i,f;I, m!:;, t
                 Nu   t   J rln       fucy   u/-''     q c, u d u^ u, ur7
                                                     6r, f ,r

                 f^ l^,r s.           Dnto^rJ ..-^r,/- TT Hf B*k:)u,,il

                                         ('ll)
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   ,*t aR ; l^rrld l,l,r,,, )4townt th*,h P l*.ru,f
K,'l

 P lo i,,t frf{ i^r 6 l*usn o6 tfuy,*,_/ /h-,u
  7yrnl
             i t lhr,*,7 ;t m4h4 ,,,t ol,i, y plnrh7
           ,
  1" b. lruu guJ''*An* *lp, tda+ p^r#,*l
       P) *i^t.l-i   rti     Llaa-llA ,      je6?             ,'^./   l-r*pu9
        b   y   No-!- tild R,s{ea
                                         J
                                             R&/r{Ns t oo rn p l*,vls
         nutrl (x+{a.qi +l.N/-        tl^" P I rr,t-it tr      LWt^
         k,t? drn u*U l-                l)otwclee JTI+,,| {3*ldil;n/"
         Dp.{ad4,t/- r,y'As dal ibr,<,**r.
                                           r^tJrf6*rt_
         +" Plti*tlrr e,{*r?r#",t*l RrW
            -h, b      {K*- fao           efii.q,   I ,, uM,rr'nl/
            P   u(rtA      rvtP'r{-




                                  U;:
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  L , Ct**eg                br+ ol,* ),*;*"J
                            i,VC, luJiNc,.
                                       'Y
  +O 1-l* Cu nrd ;ltant , f /-h, ztli<p__
    CnKKacl-i        s,r*l     6o;lrl                       D* feuJ*ul-
     Pfti*6 /rca ( sl-utJ l,w,u (u,ur r o

     14*l 4 /$ny;*1 4/*,>" ofuil +o
     Lu,, y.
                                    -

              rrwl'* t( uJ yf n}uli fV
                   ),,t                 iN          ,
                                                              PI

     /'h*l' )rft,rJ*r/ Wl;y Qtni*lme
        l-lerlth      ) \Afrj ? s,**|1-pou e/- frFs(-
        fie futJ     *,r* h,44< drl ,bnanfu 7,tJ; F4eao{*
       -rb 14,        /h,+   lt" o F /ln;,tirm                               Uasig
       f l*,r];      f€      C &te            /   ?o (4ilusut*(
                                                                         P
                                                                             ur;sh       n*h
                            Krl-rui                Ree uestZD
                                              nry       Cp.,,rt*,n   d
             t)
        Ast/e6a           6o, p)r,r,rt;r'tr fu?,* h
                               ,
                                                                             tl.ta   t
        "fr{*  Co uA-T-
                                        ,_1
                                              An,rT- the 6llra;r;
            RrLro f."



                                   ('j7,\
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         l) f// n{ //no ugr,ynr./ c e. o { D a/c,,rJa^r/i
         fr nt fr *lJ,,J inr , t oa"n h J6#,rtso,l, rt/nr,Je^l a{rcr,l
            t+

         uvr/lrtns k*J Unadz,^r pfrr*<
                                                   t (iof 4;;^l
         +h" I lt t r*r rrs Ri /-s uu,/n6'
                                   2l                /-l_" i,rW
          Ah-enrdrnrrf Tb -fr" yvrr*d
                                                  *,Ai,
           0",1 9'/';+uf?0,,/, a d do S/;{y/a,s
          -f-ofr7- cF Nllly rrco. U^t/4 ghl-n-
                                                     rJ
                                                           A..
                                                                rtu.
    ,)      Da,€ad+rl        ,       -T7Rny u^t;l;*nspf?rt*
                                                      4*J
           firl urz +o trtk n"+rr^t /b f,/>,c/fra +t*t
           P/^i, t," f{, /; ,T * q b^t J r{;r,l ', N-4a,
            cf     C*^r s{rlwtr'rr          n
                                                (   Vhn      JunJ         ftuJ 1+"
           ttPnth , S.*f"*,./ n*J 3+,a**/-;ott Kr-qur{*/ie,'rtd
            b,)pfrp- 6,tl r, LJ +/- All 4irnzt-

     3   ) | p.ie,uJ*,tls -l-daay t.o; ll                 i *m   s   , Pffrtknf- *rJ
           Cb/t^t $*Ha;-,t Ac{io^r; of fr;l;tf +b i?n,
                                      Ou? ('i''F l*"*
           C;rS* cfi tYlove txtr\*te*
            f ,'t >/' *'tn ,'; I z
                                                                     Kt'roul; ^t7 14^t
                                 I      C   " dl 'ftn<
                                     /nr Pl *;#tffd
            vi o,l *1,;r^t'> r't"LaJ                                        .7+r"/n^/da,

                                     (u'1   )
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' (/Jft\ fr fyaw| rt/,rs cJn I Lw+|-n ;,v Ji f(pr.,n*cz, Suh-
                                                  ;


   {*w,iwa-e<J c-nae{ i uuusu*f Pv,,rishmel* C,[e*1y,,

    (A) Tssue 4N f^rjv***;or,/ o AJ e6;Nq plM^rl f                             ,.
      cunut* 7us*r/uy';rx h frt\rr/ 4 Specrrulr*
      +" K^t +l" Aftre,p>*l-o
                       '/n*c 1** -rL Chu.-r
       FJn,^tr'ff 6fr           Po;ro,v;g {n orc                     ,
         Tl(         , fiud  fl.lo;uy'rft>
                                           Kfi,rt*g,46
         6n frr/ li,/ts<,*,I effzeks +1ql- ln*r;*7
         t3) R*n.h^ pr*tl"d cu* 0{ hr= Lfr6
                 C*q   l/ lwo                     '1..t
                                        c   /,/           l-*/+h -
   1)        C   aar,y o ul l-    ,,1   rth   r^rt C*lr+y jA* /x*,/*ul-
         J; g,o cJ-aC           by      9u.h r^r j,ruiho J       _




    s)              fr tt/4 K,J Uo rrtf ar s*l-"            u7 ,!- myg
                     rN *hu frl(or.t,ufl                    frnot,vl.sy

                             ry n*a $<vaK/t,ty jJr1'l-'r
        /)       I 0 1 ooo J6 iut                    a 't            r   r/-
             *De{z*c{n/s -Tr+r-8^l uJ;tl i*n's , P f
                  lrill    B                              6n
                                                          '
                                *lJw,J ' nud 9 ft6*h Jb,H"tSott
                  7o' ,i t,rJ   A       PrpLe* Pln;,thf< *hr(,
                                         ('1      f)
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w;*h 1+* Ryh#                    'o   f   PI   r;ru-h   fir ,,v *furJ. f
wll{utty W'r,y                 ( I n ru-*;rf Cfue/
                                                                              o

                                                              ,v' L/,t/us u,+ I
  F ug i ;h       ne,,rt.


.?) l   C
            t0o   o   TT,^,(+, n vJ kunr,+ tl
                                              y                 rtj*,.**
 '   ff      y!;J;";;r
     if v"+-"*,fu111   ffi. l{   jj,.
                                ;'    (, *n,             .


                     ,@3,,,*,$ {*_r({,
     Pl,rirf,f{ nnrt;*il gnb*t uy                               ,q<t,"s**/"
                                                                              t




3l      l0,oe   o 'do;**14 Avd Swzs*l(y ft),t;,tst-
                               -bJssf
        Tqf*,trlnqts                       ,;rtd    frlltt      {)   cr   €
      6K kf,,t:; ,t1 -ta 6tlaw -*/r. b*Ea.f
      Put"c+l nd fup,*,a^/s int shad o(
      <Npow frl*;whif h #<*//h                                    /ioJ,qh,o^r\
        frr,td ++12 9n      Ury       of f ln;ntfiff.
1) Sc,Dos Jt,;#L/ r,,rJ Vvast)ly H r+;,tst
     b e6z,cJ n,r-?t /,.ert/n,,unl* Br*^N
                                                             , jx     szo^t/-
     fiusaE#, o/o rt;l                     i +m   s nvJ ol(t-nyl"*
                                  ('l b)
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fr* ttfloci,,tT Plo;t-l<tr it                                 fr Cr,rtclcn,l<l
e    e-t   t     qs 'ul*u +L,"y frzfu n.l+n/-b (rr^,
 +h* i+ Mu ft R;>K 6s ,Iefr,,A*,,r1-i
                l>   )**-   Ft    o;#tfF              ,'^/ axtl +l       ,/,, lur-
     d ;a r," y<Jut Pla;*?i{f                         s      Ri 1,h/-i      ,, A,'"h
     (Aus-e "/1*n -rb                         h- J. l; ulk,*             i,,,tCfffi,r,"r,,#


r)                          fr   Mgd           Pu   nr;*;'ru cltmoff'      l^r

                      a-H   z    ll   rrtou   vl- 0 tt t
                t)    2 o doo -L$ch A.y;w* fril,t                         fxldut;,,r t
                     fr*ry at/rffi'nrrts, J P{;s/-ag   nnt



                6) io,Doo e*ch ftyr**                               Dzfr-,Cwt,
                     Clu   %AW*R,
                                          4o Mnr+"y, C/o O*Wrlf ,
                     SCnyuu/- Dufrk{f , +,,tJ /,e*^^u/-                          tr";,t
               C,) /a t,oo z4c,h A1/i^r s* D Pr/Ba ,l-+,tH
                  SEK.ff,a^t! tJ46"Jatt
                                         (/ o u;llitrts,
                     fill ,t f)" € *,t d cl, l-oy lofr
                                              Lqt\
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D) Ge4N+ c*hn< g,r cla k lre.F n-s i+                                n1n/
      h p p lAR     +]*f      ++w      PI*;thtT ic               erd'r*t"L"


                      C   z{,T fic-n*;oil

             uudo< Ftw ll-y cF pe<,jrr^/ 7_
             ccrl-;Q //"/ +7", *'1";t,.+,
              A^rJ     t/* 6-tE -t-l*p.,rr,rt rtRp
             Tnae /b /1," L;*sf of n4q
                  teJff                 7
             (r,u       , iN e,'n ot,,J r*J
             l5zl;u( T a,,tJp,<*^rcl //af
              7 f lhit oech.{;cntro*y
                                      is u*
              Oo{Rz* -T ool                          bR-    3uL/-r*
               rb       ! R,vcl-rrvs          ay A" (hqK+.

                          h,fd fha*. f 3 ,Ay of.wcwufu
                           !ul{.
                                    /r/r//r/qA) t_/,4-,{4,{/uLL. .   _ __-__
                                                                +B-V
                                    f{blw    t5 t3q "l a+1,          A,,TG
                                      P.a bo^ qq
                (q v)                 par'r{iAc--, TL
                                                      Of f A4
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                                                                     o{ J-              ff'l
                                              6xlltw+t
  l) f,*biflt rs*ha Rzsyo,,tqe fr.rn1 +1"2 A
                                              R 8 1,tn* l, t6{Ns"t
      l*f"d ial t i tq # 11 KTu't*uso fr yJJo LlzJ ?/a3/ rY
       r*;b;t t -fr fl ,t -B
 ,) €xfilt,Pa tutrr-;x 4-^ 4ss ltrah T3flnt;-*' l*t-l                                   f-f A"1r s-
         Ex?ht 2- U (ofi,a6rr.e- *                       I   1   A1 p"h*l Atpbvw e+
  3) trfiil,k,r3             pha,fi     -g       rhnlrqal fr*p^k lrrtiun,y fupv*f
         d^k,t {l        t   lt{
  \)     Effibi]'ois n*ll fir,;'fox1 of flni^tiiff', Pla;^t*;{{ ell tula,
                     b

     b tt s , *n,i c-t'l # l4e hlr. *to \il ixr,a.l-a ,k o*uy?.l utlyta
      J 14 t lxfi*. lnfe 4)t t \t s              '



 5) {*uhtl'*t \s (sfrtuvalu t ) g I 3, |Ate,vh,t,w u^tetfleJ     liarrl';/r
      7-ft , 7-6, 7-t ) l"a
 b) {mb*ilt iE n rr\edio*l fuf"n{ &t,J l"letlU of €afgg
          3    'g'oxcha            rlv;' uknz f*nrw,J iu,* Plntntti,.gp                        e1R.

  '7
       1 €^tt;h:'l'*1              is   R"pRt            fr.n       €tnrth glil^te,^t ARA        frwrY\baq,
          'Jz'l-aJ    q
                             tlllb      Ab.a.l- ,tLivrnrl tL,rJr-f-iou{,         7* i   ln-,,n     shtu,r,rtt'
  tl F*b6#ffu fu-strn^r s- rw                                       )*ath t1t/^rst^t 4"R,tj              b.a
              *rat"J                                                                             ^*-,n
                                  ;/r r lru
  qJ     Exh,b ,rn           tl     ftfftlt'r-,V         frrn
                                                       eot/rx iu */u Stwtzv;'l)e J -
          J.t"g';[);a7 /-]4L L?vl,t3 bildrJ'rot\ iv F-lL,,rs* dz1*

  io)
           "-xh;htlnta is tfizmc fe,,om C^u*go]"* Grrvns
            &1"1 1-;'t -tb ^t6rni^t1 Pinr,,tti +:r thnf A ;,r
                                                     i
                                                                                             .ifi;a,l,tntazs
              Ap,s.,6*_wa*Jol *"                  f1", JKf*orw- oFf              i ez-?., XL"qt^ *L" R*a"lw
               f+<-      u/+t       tLuo   r,/   q f I n^rff f i"t hi: es,il%o;
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                                       f    xh$,ti                      P1-
                                                                                2   orJ


    tt) trxi,L,[+ta-e) btJn< ,o,,lw i,.r J-lu 16o^ o):                              AN
         A (fiJ ov tl' 0,, rlh Lc u^r SrA,r (h7rtu*
                                                                S   il,Ja*u{_a &r<t{rntl
             Pirrrrfrf( tl          *;*s cf       bnj,, ot/ Rnn/t_,         i   r^t6q/*ho,.r.
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                                                                               Correspondence
                                                              Return of Grievance or
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 The attached grievance or correspondence is being returned for the following reasons:

 Additional information required:
             eroviae a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable.
    ft,
     E      proviOe a copy of the Response to Offgnder's Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
    /       officer's response, to           appeal.           L
                                                                   l" *
                                                                  -:-,-,   n
     tr     Provide dates of disciplinary reports a$! facility where incidentsloccurred.

     D      Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
            srievance or correspondence with the additional information requested to:
                                                                                                       A?#Hr,Xr;i5lrfi:rtr"rd
                                                                                                       1301 Concordia Court
                                                                                                       Springfield, lL 62794-9277


Misdirected:
     D      Contact your correctional counselor regarding this issue.
     tr     Request restoration of Statutory Sentence Credits to Adjustment Committee. lf the request is denied by the facility, utilize the
            offender grievance process outlined in Department Rule 504 for further consideration.
    tr      Contact the Record Office with your request or to provide additional information.
    n       Personai property issues are to be reviewed at ycr-ri'current faciiity pi'ior io reviei..r by the Administrative Review Board.
    n       Address concerns           to: lllinois Prisoner Review Board
                                             3'19 E. Madison St., Suite A                                                                                           l



                                             Springfield,     lL   62706

No further redress:
    f]     Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
           further.

    tr      Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

    tr     This office previously addressed this issue on

    tr      No justification provided for additional consideration.


Other     (specify):




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Completed        by:             Sarah Johnson
                                             Pint Name
                                                                                                    Sarah,lol'mrcw
                                                                                                     Signature
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Distribution: Offender                                                     PrinredonRec*tedPaper'           q)                              DOC 0070 (Rev.4/2013)
                lnmate lssues
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                       Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 58 of 101 PageID #:279
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                                                                                     Facilaty where grievance
                                                                                     issue occured:
    NATURE OF GRIEVANGE:

       tr      Personal prooertv
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                                                                                 Restoration of Good Time
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       E       Transfer Denial by Facility
                                                                                fl
                                                                                 Meoica,lTreatment
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                                                  E       Transfer Denial by Transfer Coordinator

       tr     Disciptinary Report:

                                                                                                                           where issued
                                            Denials mav be grieved immediatetv
                                                                                via the local aaministraflJn on the protective
             :::";"-^:t.:lt^t::e    :ustodv                                                                                    cusrody status norification.
                                                   document (such as a Disciprinary Rrport, shakedown
   ""rr,"j::,o:::: ::j: :J::f f:fTnr                                                                    Record, etc.) and send to:

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             !!.eya1ce Officer, only if the issue invoivJs-;;;ffi ar rha h.ac6h+
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             i:n,il:,,'..ip:
             Admin  istrative Officer                                                       ;:#H                  rssues, or issues not resolved by the Chief


  Brief Sur4mary of Grievance:




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                                        Oftender's SiSnature                                                                                  tt
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Date
Received:                                             I    senu direcfly to Grievance officer
                                                                                                       D        Outside jurisdiction of this facility. Send to
                                                                                                                Administrative Review Board, p.O. Box 19227,
                                                                                                                Springfield, tL 622 94-9227
Response:
Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 59 of 101 PageID #:280
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                               lLlrNors DEPARTMENT oF CoRREcnor,ls
                            OFFENDER'S GRIEVANCE (Continued)




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            Case: 1:16-cv-11180 Document
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                                           OFFE}.JDER'S GRIEVANCE \'
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    NATURE OF GRIEVANCE:

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               3;#3ff1.,J'"1il,,iii,                                                                                    direct review by the Administrative Review
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               chief Administrative  officer,     # Eilffil!6Ncy grievance
                                                                             or issue not resolved by counseror.                                                   Board
               Administrative Review ao"td'"dyo;rv if         ih"-it"ti" ln,oii'";
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                                                                            another fac,itv
                                                                                               deniar by-the Transfer coordinaror, protective
                                                                                                                                               custody, invoruntary
               i:H',li:Ht,,,|:                                                                                 property issues, or issues not resorved
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   Brief Summary of Grievance:
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 Relief Requested;




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                                           Offender's Signature

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                                                                                                   necessary)



Date
Received:      _         I             I                  E    S"rU dlrec(y to Grievance Officer
                                                                                                               tr   Outside jurisdiction of this facility.
                                                                                                                                                           Send to
                                                                                                                    Administrative Review Board, p.O.
                                                                                                                    Springfield, tL 621 g4-gL7t
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Response:
Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 61 of 101 PageID #:282
                             ILLINoIS DEPARTMENT oF CoRREGTIoNS
                         OFFENDER'S GRIEVANCE (Continued)
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                            Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 62 of 101 PageID #:283
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                            h                                                      Administrative Review Board
                                                                              Return of Grievance or Correspondence
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     Offender:


     Facility:                                                                                                       (lz
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    The attached grievance or correspondence
                                             is being returned for the folowing reasons:
    Addifonal information required:
          fi'     Provide a copy of your written offender's
                                                            Grievance,                     Doc 0046, including the counselor,s response, if
          V                                                                                                                                 applicable.
       ru        ;ffi:L1i?""r"JJ":::i::rT|;i'"
                                                                       to orrender's Grievance, Doc 0047, incrudins
                                                                                                                    the Grievance orricer,s and chierAdministrative
                 (Provide
        [                   dates of   disciplina'uport"   facility where incidents occurred.
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        n        Unable to determine nature of grievance
                                                           or correspondence; submit additional specific
                 grievance or corresponderce r,iith
                                                    ttre aoJitionar irT"irrii"r'*qi".i"o
                                                                                                           information. please return the attached
                                                                                           to, Administrative Review Board
                                                                                               Office of lnmate lssues
                                                                                               1301 Concordia Court




       n         Contact your correctional counselor regarding
                                                               this issue.
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                offender srievance process
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                                         outiined, Hi**::,,g1^qii:y,::,.9:rT1"",   ,rr
      D         contact the Record office with your request
                                                             or to provide additional information.
      D         Personal proper-ty issues are to be reviewed
                                                             at your current facility prior to review by
                                                                                                         the Administrative Review Boarci.
      n         Address concerns to: lllinois prisoner
                                                        Review Board
                                       319 E. Madison St., Suite A
                                       Springfietd, tL 62706



      tr        Award of supplemental Sentence credits
                                                       are discretionary administrative decisions;
                further.                                                                           therefore, this issue will not be addressed
     !      Not submitted in the timeframe outlined
                                                     in Department Rule s04; therefore, this
                                                                                             issue wiil not be addressed further.
     tr     This office previously addressed this
                                                  issue   on
     n      No justification provided for additional
                                                     consideration.




Completed         by:

Distribution: Offender
                                Sarah Johnson
                                          print Name                                                                    Sat a.h,Tohnaow
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 Disposition of patient:
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offender
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 Was it witnessed by statl?           E ttto fl   Ves   (ll ves' pl€a36lt$ namss)




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  E Ufn (gym, basketball, football, etc')                                                           ff       Sports

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  fl Group (therapY)
  E Housing Unit (cell, dayroom, tv room' etc')                                                     fl .too Related
  E Scnoot (classroom, librarY)                                                                     fl Non-job Related
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                                       Offender OutPaUent PrcgresJ Notes




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                  Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 69 of 101 PageID #:290


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 Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 74 of 101 PageID #:295


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                    Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 75 of 101 PageID #:296
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                                                   ItuI{ol9 DEPARTilEN' oF coRREcTIoNs

                                               Offender Outpatient Prcgress Notes

                                                   Statevllle Gorrpctlonal Center




                                        Subjeclive, ObJsctlvs, Ass€.$ment




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Distibution: Offendef8 M€dlcal R€cord
                                                                                         DOC 008,1 (Eti.912002
                                                                                            (Replaccs DC 71 47)
       Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 76 of 101 PageID #:297
Bruce Rau4er
  Governor                                                                                                                John Baldwin
                           €xtl%t                                                                                        Acting Director



                                        The lllinois Department of Corrections
   1301ConcordiaCour1,P.o.Box1g277.Springfield,lL627g4-g,.,,.|.,|1ilm
                                                                    April 7, 2016


       Thomas Britton
       Register No. 862376
       Stateville Correctional Center

       Dear Mr. Britton;

      This is  li i'esponse to v'oi'lr gi'ievance reccivecj orr December 30, 2u'i5, regarding
       (unidentified c/o refused tolend him to restroo.m                                            conditions (F house), Staff conduct
                                                                from v^td,iiifiil,which was aileged to have
       correctional center. This office rras oetermin"o                                                             occurred at statevire
                                                             tnu i".r" witt'oe aoJlessed without a formal hearing.
      offender Britton states in his grievance he has
                                                           been housed in F-House at Stateville cc since
      is referred to as the "nug unit"' He griev;s there                                                         2011. Heclaims the unit
                                                                    are onenoeri-on the- unit who take psych medication
      themselves' bleed on the floor, tru",. f"-"e, on
                                                            tn" ooor. n"                                                         and cut
      in the unit' He grieves there is mildew, leaking                              .in ce zoli there are birds, ants, roaches, and
                                                           ceilings, brici "irirr
                                                                            i"rrirg           He grieves on Juty 4, 2o1she was on the
                                                                                                                                      mice
      yard and needed to use the restroom. He                                       ";'*"ils.
                                                        cialms th;'r;iJ;rtifi"ioti"", advisef him he *orto
      claims he was unable to ,,hold it,, and defecateJ                                                            r,"r" to,,hord it,,. He
                                                           on nimself.

      I[i"Fifl?i,:?,.,?ff:ffiff'""J,.3::3#i;:l;isx"*,#::Tlx?i;:::                            dated December 11, 2015 and approva, bv the

      offender Britton self reports he has been housed
                                                          in F house since 2011.. He fails.to cite any
      to "bugs' mice' birds" specific to himself witninlne                                             specific incident with regard
                                                            timeframe tol. i"rl"w'in accordance with DR504.
      house is visited bv the exterminator. on a ,"grr",                                                        This office notes F-
                                                          scheduled uasis. Ri irre time of the grievance,
                                                                                                            offenders who were on
                                                         ror use or the res-troo,. rt i, noteo onJe an oiJnoe,
      :::,|fl* T|[;""tffiXfj        ;*ni;iJg:[ff                                                                reft the yard ror the

     Based on a total review of all available information,
     addressed by the institutional aciministration. lt
                                                              it is the opinion of this office that the issue was appr"cpr.iately
                                                        is, therefoi", r"[rr"nded the grievance be denied.
     unable to substantiate offender Britton allegations                                                          This office is
                                                           of staff misconJr"t *itn ,ug"ri to J"nirr to reave
     restroom. This office notes there is now a pota                                                           the yard for the
                                                     potty on the F house yard.
                                                                                                        n     t

                                            FOR THE BOARD:
                                                                                     Johnson
                                                                            Administrative Review Board
                                                                            Office of lnmate lssues



                                            CONCURRED:

                                                                                     Acting Director
           Warden, Stateville Correctional Center
           Thomas Britton, Register No. 862376                                                                    l/sfiq


      Mission: To serve iustice in tttinois and increase p.ubli
                                                                safety by promoting positive change in
         offender behavior, operaflng successful reentry progiii{Lia
                                                                                               reducing victimization.
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                   Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 77 of 101 PageID #:298
                                                                                       John Baldwin
                                                                                      Acting Director




                                           The lllinois Department of Corrections
                                                                      . (217) 558-2200 TDD: (B0O) 526-0844
     130i Concoi-dia Cor:ri, P'O' Box 15277'Springfield '\L62794-9277
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orrenderName:       3       r, +tA^           ,
Resister   -               hb7'?1|'P
Facility:              ()lt-a'^vvlLtL                          -         -
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                                                                                                      3t'Ji           Griev Loc: ':, \ti-i-v I
      Your issue regarding: Grievance             o"*'' Ei f       iu
                                                                        S- Grievance r'r"n"''
 OTransferdeniedbytheFacilityorTransferCoordinatoroCommissary



 O Mailroom/Publications                                                          O      Disciplinary Report dated
                                                                                         lncident #--
 O Rsiignment (ob, cell)                                                          O      Other


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                                                                         offic' hae claieii-nineC lr6ij; gi-levance tc be:

 o    Afflrmed,Wardenisadvisedtoprovide^o.Deniedasthefacilityisfollow|ngtheprocedures
      written response of corEEiivEZ"tlt' it im" oifice by
                                                           outlined in DR525'


                            -- DR504F' this is an                             -   tft" plp"'trn"nf t de"termination of the appropriate
 o    Denied, in accordance with
                     decision.                                                    Operational capacity of each faciliiy'
      administraiive
                                                                                         procedures t''ere fcllou'red in accordance
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      Denied, this office finds the issue was appropriatelv'
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                                                                             - ?1n'.u:1t                                   'from/for an
      adc,resseci by ihe facility Administration.                              ;A 42*:r'removal/denial of an offender
                                                                                  assignment.
o                                                     (Monetary
     3:ffiilffiT'r:iffiIlfi33:f:J3i^                                         o Denred as this orrice nnds no viotation orthe
                                                                                   proce's in accordance with DR504'80 and
                                                                                                                             offender's
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     Deniecl, as the transfei- tieirial by iire faciiity/TCC cn
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                                                                                  DR5b4'30' Tiris offiue is ieasonably satisfled
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                     was reviewed in accordance with                              offender committed  the offense cited in

     tr"""f"rnrry.dures apd is an apministrative decision
     Other:
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                                                                             CONCURRED:
FOR THE BOARD:
                                                                                                              Acting Director


CC:    Warden                                          "ln"r[i"ilr,. rt\tfrL\ 1b
                                                       Correctional Centeh



                                                                             by promoting positi.ve.change in
            Mission: To serve jus[ice in lttinois and increase public safety
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               offender behavioi, op)e{ating successful reentry programs,
                                                          www,itlinois.gov/idoc'                  ( (, t\
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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 78 of 101 PageID #:299




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  Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 79 of 101 PageID #:300




            To: Britton, T. 862376 - STA Unit F #lZ9

                                        Ilrom the Deskof!

                         Mr. Graves / Comectional Counselor I:

Friday, July29,2076

To:    Britton, T.862376 - STA rJnitF #129

All of these originals have been forwardeci to the grievance office;these copies are for your
records. The grievance office is aware that I have seen the amount of roaches that you have been
dealing with, as noted on the grievance regarding that issue. The originals have been forwarded
so that these grievances can be addressed on the next level,



Mr. Graves, CCI



Stateville Correctional Center




                                                  *)
         Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 80 of 101 PageID #:301
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              Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 81 of 101 PageID #:302
                          State of lllinois - Department of Gorrections
                                        Counseling Summary
                                                                                                                          {*W,L*U3\
               tDoc   #   862376                                Counseling     Date Ogt}gt1613:31:50:913
      Offender   Name     BRITTON, THOMAS                                      Type Collateral
  Current Admit   Date    06t24t2011                                        Method               Other
            MSR Date
                                                                          Location PoN                      EAST SEGREGMTION
      HSE/GAUCELL E -06-17                          Staff   Slri,tur{l\r$ JAMIE M., Conectionat Counsetor lt


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  Emergency grievance writteridn 6t2T re:
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  on 812 Grievance written 6/26    reffi
  Grievance written Bl4 re:




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Print Date g/29 t2016
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                    Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 82 of 101 PageID #:303
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                                                                                                             rievance
                                                                       llxfl'L:fff                                      <.hrbt n /,
      NATURE OF GBIEVANCE:

        n    Personal Property                       tr    Mail     Handling I            Resloration ol Good Time                 D   ADA Disability Accommodalion
        tr   Stalf Conduct                           D Dietary                      E     MedicalTreatment
        E    Transler Denialby Facility             tr    Transler Denial by Transfer Coordinator
                                                                                                                                   EH;ii,", o,*-N-%tu
        tr   Disciplinary Report:                                                                                                   b*O'4e{1,-&a4
                                                   Date of Reporl                                                        Faciliry whera issudo
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             Nole:     Proteclive Custody Denials may tre grieved im,nedialely via the local adrninislration on the protective
                                                                                                                               cuslody stalus noliIicatior          ^f
     Complete: Attach a copy ol any portinont documont (8uch rs                  a Disciplinary neport,   st ateaown R6cord, otc.) and sond to:
             couneelor, unless the issue involves disciplin€, is deemed an emergency, or                  is subject lo direct review by the Admintstrative Review Board.
             9ll..y"f" .oltlcer, only it the issue involves disoipline at the presenl faciiiiy or issue not rcsolved by Counselor.
             Chlel Admlnletratlve Ofllcer, only if EMEBGENCy grievance.
             Admlnlstratlve Revlew Board, only if the issue involves transfer denial by the Transler coordinalor, protective
                                                                                                                               custody, involultary
             administralion ol psychotropic drugs, issues lrom another lacility excepl personal property issues,
                                                                                                                 or issues not resolved by the Chiel
             Administralive Otlicer.

     Summary ol Grievance (Provicle inrormalion includilrg          E   doscription ol rvhst hopponod, whan and wh6ro lt happ€ned, and thc nsmo o. id6ntilying
  for osclr porson   lnvotvEdtt                I           I         ^

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                                                               Counse!ur's Response (lf appticabie)

Received:          / llV             I lE                                                                      fl   Outsioe lurisdiction of rhis tacitity. Send to
                                                      ff*odirecuyroGrievanceorricer
                                                                                                                    Adrninistrative Fleview Board, p.O Box 19277,
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Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 83 of 101 PageID #:304
                          lLLll.iols DEPAHIuENT or' Cor.lFEcrloNs
                                              (Continued)
                         OFFENDER'S GRIEVANCE




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              Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 84 of 101 PageID #:305

                                                                     OFFENDER'S GBIEVANCE

                                             Oflender;
                                             (Pleas€ Print)


                                                                                   lx"J:'#ffi:rievance          9rff2,, Fl a                    c
 NATURE OF GRIEVANCE:

   t]   Personal ProPertY                    tr Mail Handling nrRestoration ol Good Time                                E   ADA Disability Accommodation

   tr   Stalt Conduct                        tr Dietary            ff uteoicatTreatment                                 E   Hrpae
   fl   Transfer Denial bY FacilitY          tr Transler Denial by Transler Coordinalor                                 E   Olher   ("peoryr,



   n    Disciplinary Report:
                                           Date ol Reporl                                                       Facility where issu€d

                     protective CustorJy Denials may be grieved itnmediately via the local fdministralion on the protective custody status notilioation.

 Complete: rlttach a copy ol any pertlnent document (8uch as a Disciplinary R€porl, Shakodown Record, otc') and sond to:
       Counselor, unless the issue involves discipline, is deemed an enrergency, or is subiect to direct review by the Adminrstrative Beview Board.
       Grlevancs Offlcer, only it the issue involves disciplirre at the present lacility or issue not resolved by Counselor.
       Chlet Admlnlstratlve Ofllcer, only if EMEBGENCY grievance.
      Admlnlstratlve Revlew Board, only if the issue involves transler denial by the Transler Coordinalor, protective custody, involuntary
        administration of psychotropic drugs, issues trom anolher lacility except personal property issues, or issues not resolved by the Chie,
        Adrninistrative Oflicer.

Summpry ol Grievance (Provido inrormation including            a   doscription of what happened, when and wh€re ll happoned, snd th€ rrams or idonlilying inlormalion




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Relie, Request€d:



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                                                          Counselor's Response (l' appticable)
Date         't           I q        I'
fill=",r"o,       {,      I l,       I \A ,ffi                                                           D   Outside jurisdiction of this lacility. Send to
                                                              "odirecryroGrievanceoricer                     Administrative Beview Board, P.O. Box 19277,
                                                                                                             Sprrngfield, lL 62794-9277

Response:
Case: 1:16-cv-11180 Document  #: 6 Filed: 01/13/17 Page 85 of 101 PageID #:306
                          lLLlNots. DEPARTrrEllr oF CoEBEcroHs
                         OFFENDER'S GRIEVANCE (Continued)




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                    Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 86 of 101 PageID #:307
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                                                                      OFFENOEF'S GRTEVANCE


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  NATURE OF GRTEVANCE:
      fl - Personal Property                     C]     Mail   Handling l-J           Restoration ol Good Time                  E aOa Disability Accommodation
      N/ st"tt conouci                           E Oaetary              E             Medical Treatmont
      fl Transler Deniat by Facitity             trl    Transler Denial by Translsr Coordinator
      f]   Disciplinary Report:                 /                                                                                                                             ,J
                                               Oat€ ol Ropqt                                                                                                                  t4,
           Noia:        Protectivo   cGlody Denials may b€ grievod imm€diitl€ly         vlia   the bcal admin*stration on the proteclive custocty status notitication.
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       Admlnllrrtlv' Fl'vltw Boara, onty it the i&sw invoies transtor donial by the Transrer
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               Case: 1:16-cv-11180 Document #: 6 Filed: 01/13/17 Page 87 of 101 PageID #:308
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                                          orrExogn's      GFIEVANGE (Continued)




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                                                                         OFFENDER'S GRIEVANCE




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                                                P.O. Box 1 OO4Z, Chicago, tL 606 1 O-OO4Z
                                                 Tel. 3 1 Z-29 1 -9237 F ax. 3 1 2-526-37 1 4




 September 23,20L6

 Mr. Thomas Britton #862376
 P.O. Box 99
Pontiac, lLGL764




Dear Mr. Britton,

The report you requested is enclosed.




Regards,

JHA Staff




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                    Promoting community safety Through cost-Effective prison
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                                     John Howard Association of Illinois
                                              375 EastChlcagoAvenue, Sulte 529 Chlc4go, IL 6061 1
                                                   2503{300 Fac 312-50}6306 www.theJha.org
                                              Tel, 31




      Monitoring Visit to Stateville Correctional Center 2013
Stateville Correctional Center (Stateville) is located approximately 40 miles outside of Chicago
in Joliet, IL. Stateville operates a maximum-security facility (max), a Minimum Security Unit
(MSU), and the Northern Reception and Classification center (NRC), where 85 to 90 percent of
all Illinois Department of Corrections (IDOC) inmates enter the system.l Stateville also manages
and temporarily houses inmates on court and medical writs from other male IDOC facilities. This
report addresses the max facility; however, many resources - including healthcare - are spread
across the Stateville max, MSU, and NRC, and many conditions affect the entirety of Stateville.

                                             Vital Statistics:
                                              Population: 1,615
                                              Rated Capacity: 978
                                              Operational capacity: 1,693
                                              Average Age: 31
                                              Percentage of Population aged 50 or older:22Vo
                                              Average Annual Cost per Inmate (FY 2011): $28,870
                                              Population by Race: 75Vo Black, 14.57o White, 10.57o
                                              Hispanic/Latino

                                             Source: IDOC, April 2013

Key Observations

        Physical plant issues continue to raise major concerns, particularly in the roundhouse,
        Unit F, which is the only panopticon still in use in the United States.

        Inmates' healthcare needs overwhelm Stateville where high demand                            is   continually
        aggravated by insufficient resources, including key staffing vacancies.

        Although visitation has been demonstrated to both aid in facility management by
        promoting positive behavior and correlate to reduced recidivism, Stateville's visiting
        room physical space and hours are limited.

    o   Illinois' fiscal crisis   had crippled the      Illinois Correctional Industry programs at Stateville.

    o   Additional mailroom staff were needed to alleviate delays.



I
  The MSU is commonly referred to as "stateville Farm" and inmates housed there have work assignments
throughout Stateville in both the max and NRC. The latest monitoring report on NRC and MSU is available at
htQ://thejha.ore/NRC.


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Monitoring Visit to Stateville Correctional Center 20i3




     Monitoring Visit to Stateville Correctional Center 2013
                                              Executive SummarY

The primary problems noted in JHA's prior reports persist at Stateville's maximum-security
 facility.2 Yet, as JHA's 20tl report stated: "stateville's biggest challenges-severe
overciowding, understaffing, a grossly deteriorating physical plant, lack of education and inmate
programming, and lack of resources to address these issues-are squarely beyond the control of
itre iacitity' Jttuff and administration."3

The strain of continual overcrowding at NRC, where inmates regularly are sleeping in locations
intended for other uses, directly impacts all of Stateville. In reviewing this draft in September
 2013, IDOC officials srated that there had not been inmates sleeping in Stateville max',s
nonstandard housing locations since July 2013. However, JHA spoke with staff who stated that
there are still regularly 200 to 300 inmates sleeping in such locations at NRC. More precisely, as
of Septemb", i}th,2OI3, there were 100 inmates awaiting transfer to boot camp housed in a
gym, 35 inmates on the floor in the NRC healthcare unit, 90 inmates on the floor in NRC
iiaglng, and three in the MSU on the floor. Staff also expected that there would be even more
inmates on the floor the following week based on lack of transfers out. IDOC officials responded
 that this expected increase was speculation. Staff stated that inmates have been sleeping in the
 gym for the past two years and in the staging area for the past eight months. Since the time of
 fg4'r 2012 NRC monitoring visit, there are more than 100 additional inmates housed at
 Stateville.a IDOC officials stated that they see the inmates housed in nonstandard areas in the
 NRC as a transient situation because the same inmates are not housed in nonstandard areas for
extended periods.

Nonetheless, the sharing of physical space and staffing resources with the overcrowded NRC
further reduces alreadf HmiteO opportunities for Stateville max inmates.s Illinois' prison
population is aging and many Stateville max inmates are serving 20 years to life. As IDOC faces


                                                                                                                            This
2
  This report is based on an April 4,2013 monitoring visit and ongoing communications with inmates and staff.
report supplements    JHA's  p."uiour   monitoring reports, available  at http://www.thejha.ore/stateville.    Stateville and

IDOC administrators reviewed and fact-checked a draft of this report and it was last discussed with JHA on October
Z, 2013. No factual substantive changes have been made since this time prior to publication. All statements of
opinions and policy recommendations herein are JHA's unless otherwise stated. See also JHA's 2013 publication
iow JHA,s prison Monitoring Works, available at www.thejha.org/method.
3
  Available at http://www.thej ha.org/statevi lle.
a
  Available at http:/ithejha.org/NRC.
s
  In addition to tt" UrrO"n o       infirmary shared with NRC, at the time of the visit, due to commissary shared with
NRC, the max     inmates  had commissary    services only every six to eight weeks. IDOC officials reported that since
the visit with the addition  of staff inmates are now offered commissary twice a month. Administrators reported that
discussions continue on creating a separate NRC commissary. Additionally, inmates who have been in
                                                                                                                  intake at
 NRC more than 60 days, which is inCreasingly common given limited available bed space            throughout     IDOC,   must
 use the max visiting room, again limiting opportunities for other inmates. However,        JHA  reiterates  our
                                                                                                            visitation after 60
 recommendation frbm tuezotzJHA NRC iiport that NRC segregation inmates also be permitted
 days if not otherwise restricted (C Grade). IDOC officials   report  that  a plan is being developed   for  NRC visitations
 at the NRC. JHA will continue to monitor     these developments.
                                                       €*1yL;* U9)
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 Monitoring Visit to Stateville Correctional Center 2013
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 teams make rounds daily; hence, a wait of "more than two months" would be highly unusual.
 They acknowledged that delays may occur, but stated that emergent cases never wait.

 JHA received several complaints from inmates who had transferred into Stateville from other
 facilities without being reevaluated or getting medications and prescriptions continued.
 Administrators confirmed that this does at times accidentally occur, which points again to the
 need for better a better recordkeeping mechanism. Inmates also reported that they are not
 allowed to submit refill and medical permit requests early enough to ensure continuous treatment
 at Stateville.'6 IDOC officials explained thai often paiients must be reevaluated before their
 prescriptions can be refilled and inmates do not want to wait for this normal procedure. IDOC
 officials also stated that there are documented cases of inmates claiming to have not been seen
 who actually were seen. IDOC officials futher wished to note that JHA cannot confirm or deny
 the validity of particular inmates' reports. JHA will continue to monitor such issues and
 encourages inmates to clearly document their concerns.

 Inmates reported that physicians are frequently not at the facility and appointments are cancelled.
 IDOC officials reported that since the visit, daily nurse sick call is now held in the housing units,
 which should eliminate waits and free up the physicians to see only those requiring physician
 attention. Outside appointments are also often canceled or delayed. In addition to scheduling
 issues, lockdow_ns also cause appointments to be canceled. Stateville had 88 days of lockdown in
 the prior year." JHA finds the policy of canceling all healthcare appointments due to lockdown
 untenable and again recommends this be reconsidered.2S In one documented example, a "one
 week" follow-up appointment actually occurred 12 weeks later and a pending specialist
 appointment had not occurred in more than four months. Several inmates reported never
 receiving follow-up appointments with both in-facility staff and specialists. JHA believes that
 this is also an area where electronic recordkeeping would be helpful.




Commission on Correctional Heath Care, Position Statement: Charging Inmates a Fee for Health Care Services
(October 2005), available at http://www.ncchc.org/charsing-inmates-a-fee-for-healrh-car.e-services.
'u JHA interviewed an inmate who stated he had a blood clot in his leg ;d ;;tirr"mly rried to ger rrearment.
Eventually he was sent to University of Illinois, Chicago (UIC) specialist and was returned to Stateville with
medication and prescriptions that needed to be refilled. However, he did not get a refill and the inmate relapsed and
had difficulty walking and communicating. His cellmate wrote to the UIC doctor, who then requested the inmate be
brought back to UIC for further treatment and held there for the remainder of his .".rperaiion to ensure proper
treatment. IDOC officials reported that they were not notified by inmate of this alleged incident. They note that ihe
onsite Wexford medical director is the primary doctor who has final authority over all treatment regimens.
27
   In comparison Pontiac Correctional Center and Menard Correctional Center, IDOC's other male maximum-
security facilities, reported six and 251 days of lockdown respectively. However, Pontiac inmates have very little
movement to begin with, as Pontiac is primarily used for long-term segregation. JHA reports on these facilities are
available at http://rhciha.olg.
" Src JHA', 2612Eilrd reporr, available ar hrtp://rhejha.org/rnenard.

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Monitoring Visit to Stateville Correctional Center 2013
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At the time of the visit,  due to the lack of a
                                                   Number of Stateville Inmates Diagnosed
physician, there was a backlog for the chronic Asthma                                r58
care clinics other than Hepatitis C and HIV Cancer                                   20
clinics, which are provided through Telemed. Diabetes
                                                             0ype l)                 105 (2)
Staff and administrators at Stateville considered                                    83
                                                   Hepatitis C
Telemed an asset, as it is does not require
                                                   HIV                               t4
waiting for specialist appointments, nor does it
                                                                                     404
incur additional security and transportation Hvpertension
                                                                                     26
costs. IDOC officials reported that since the Seizure
                                                                                     92
visit, the clinical backlog has dramatically General Medical
improved, noting that as of September 1,2013' there were only 56 hypertension and 18 diabetic
cases waiting, while all other backlogs have been cleared' JHA hopes that Stateville
                                                                                     will remain
on the path of continued improvement.

At the time of the visit, 352 inmates were older than 50 years old and 74 inmates were identified
                                                                                               for
as having a disability. JHA commends Stateville for offering a separate recreation time
                                                                                             of an
inmates iith special needs. Many healthcare complaints JHA received related to conditions
                                                                                              that
older populati6n, including thingi like requests for lower bunk permits. IDOC officials
                                                                                        noted
                                                                                           gallery
while they will grant bottom bunk requeits when appropriate, they do not grant bottom
requests. JHA ricommends that IDOC continue to plan for accommodation of the
                                                                                         needs  of
Illinois' aging prison population, as discussed in JHA's 2013 Dixon report'3o
                                                                                             who
Additionally, JHA interviewed and corresponded with deaf and hearing-impaired inmates
reported difficulties at Stateville. Issues reported ranged from inability   to get  hearing   aid
                                                                                           safety
batteries and depression, to receiving segregation time for failing to hear an order and
                                                                      battery replacement   has a
concerns related to being unable to hear. IDOC officials stated that
weekly schedule and thit batteries can be furnished as needed outside the schedule. They
                                                                                              also
stressed that segregation is not automatic, and that there is a review process in
                                                                                  which hearing
difficulties, whin proven, are considered. JHA again recommends that IDOC ensure adequate
                                                                                    reported that
means of communication for deaf and hearing-impaired inmates.3l IDOC officials
                                                                                            video
they do ensure this, in part through two onsite certified sign-language interpreters and
interpretation. JHA will continue to monitor this issue'

                                                                                       not receiving
 Other inmates with disabilities at Stateville reported instances of neglect including
 sufficient diapers for incontinence issues and mobility       issues where  they  were not getting
 consistent accommodations to be taken to chow hall or showers. Stateville administrators
 reported they had addressed particular instances that JHA raised to their attention.




 "30 Dataprovided  by Stateville administrators from April 2013'
    Available at http://thejha.ors/dixon'
 ,, H"ulth"*" ,iuT"f".*A .un provide sign language interpretation. At the time of the visit, administrators were
                                                                                                  Since the visit,
 considering the possibility otaiding slgn languageinterpretation for religious services.
                                                                religious services  is being  addressed   by the Americans
 administrJors reported that the issui oi sign iungrug"     for
                                                           Officials report they  will review  tlre sa19  program at Big
 with Disabiliries Act (ADA) Coordinator     and   others.
                                      for possible  implernentation   aiStateville. See  also, JHA's   2013BigMuddy     report
 Muddy River Correctional Center
  and2012 NRC report, available at http://thejha.org'
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     Monitoring Visit to Stateville Correctional Center 2013                €Wtr'{.!                    {r)
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                                                   Living Conditions
     Stateville max inmates typically ale double-celled and may leave their cells for work or school
     assignments if applicable," visits," medical passes, law library, chow, or twice weekly two-and-
     a-half-hour recreation periods.3a Like other maximum IDOC facilities, Stateville offers little in
     formal educational or vocational opportunity for max inmates, with fewer than five percent of
     the population participating at the time of the visit.35

     IDOC officials noted that the Stateville offerings meet all agency policies, which reflect State of
     Illinois laws. Since the visit, administrators reported that educational course offerings have been
     increased and the barber program is pending State of Illinois licensing.36 JHA commends these
     positive developments and encourages IDOC to continue to strive tbr more than the legally
     required minimum across the board. We note that in approximately six months since JHA's 2013
     visit, Stateville administrators reportedly have been capable of making several substantial
     improvements, notably with some of JHA's longstanding concerns regarding mixed populations
     in the roundhouse.

     At  the time of the visit, the roundhouse or Unit F, housed disciplinary or administrative
     segregation,3T orientation, general population overflow, inmates on court and medical writs,
     protective custody inmates, and inmates requiring single-celled status including non-compliant
     mental health inmates and inmates classified as either predators or vulnerables.3s As noted in
     prior JHA reports, housing so many different populations together is problematic. It is
     inadvisable for inmates with protective custody status to intermingle with others, and in the
     roundhouse, though the populations were housed on different levels, these inmates may
     encounter inmates in disciplinary segregation and inmates from another facility at Stateville on a
     writ. Further, the design of the roundhouse panopticon is intended to enable lines of sight.

     Administrators reported that since the visit Unit F has been realigned. They stated currently there
     are three types of population housed in Unit F: segregation, general population, and overflow
     status. Administrative detention and protective custody inmates have been relocated to Unit X.

     32
        At the time of the visit there were about 250 inmates with work assignments and 60 inmates in educational
     p-rogramming, meaning that about 807o of the population had neither.
     33
        General population inmates are permitted a maximum of five two-hour visits a month (with one weekend visit and
     longer visits for those who travel far distances), for more information on visitation see
     lrltp://www2. illinois. eov/idoc/facilities/Pages/statevillecorrectionalcenter.aspx.
     '" Those housed in Unit F or the infirmary have only one recreation period weekly.
     3s
         See Programming and Industry section below.
     36
         See further discussion in the Programming and Industry section below.
     37
         Notably Stateville's segregation population was down to 78 from 137 at the time of the 20ll visit. The average
     length of time in segregation at Stateville reported by administrators in 201 3 was 4. I years, compared to I 3 months
     reported at the time of the 2011 visit. Stateville uses a modified Long Term Segregation Incentive Program, to give
     inmates an opportunity to reduce their segregation time. Administrators report that a cornmittee reviews long term
     segregation placements monthly and that as of September 1, 2013 six inmates were active in the program. At the
     time of the 2013 visit, 1l of the 78 inmates in segregation were receiving mental health treatment. For more
     information about IDOC use of segregation reduction techniques see JHA's 2013 Pontiac report, available at
     http ://www. thejha. org/pontiac.
     38
        At the time of the visit, Unit F housed 78 segregation inmates (out of a capacity of 134),12 inmates on writs, 61
     protective custody inmates, and 35 single-celled inmates.




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Monitoring Visit to Stateville Correctional Center 2013                  V'tr\ '"; la t )
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Administrators reported that this move allows the facility to better manage their population to
include services provided to those with special mental health needs, such as those with predator
or vulnerable classifications.

During the visit, JHA observed deterioration and lack of upkeep in many parts of the max
facility. The covered walkways showed years of paint shed in chips. Several buildings on the
grouni, have been condemned and closed. Inmates at Stateville complained that the water is
discolored and has a strange taste.3e At the time of the visit, Stateville administrators reported
                                                                                                      a

need for some physical plant water line repair, which has since been completed. However,
                                                                                                  they
stated that all water reports including the annual drinking water  quality  report were  in complete
                                                                                                 water
compliance with the Environmental Protection Agency standards and regulations and that
                                                                                                 sPider
is teited by an outside agency, Aero Lab. Inmate reports of bird,    rodent,  cockroach,   ar-rd

infestations *"r"              and credible. Sinc" the visit, the ex-terminatoiCbntract has been
exDanoeo.
                        "o*rnon

JHAvisitorsfoundUnitFtobeinparticular1ypoorcondition,@EeL
                                                       in the
leaks,_and mold. Inmates complained of insufficient cleaning suppliEs and of the
                                                                                 plumbing
T-frfdfigffi[h    requires a ten-minute toilet flush delay. IDOC officials stressed that the ten-
                                                                                            inmales
minute flush is a timer system to avoid some inmates intentionally flooding cells. Again,
                                           geltra of u"d t*u.-"d th"i. :
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reported cockrqachgr were impossib!e--.19o                                          .   even-gettPg
                                                                                       ._#
                                                                                 :;-: since
                                                                         above,  that       the vlslt
in their                          .{dminmators responded, as noted
    y had reviewed the Pest control contract and would be changing the insecticide spraying
schedule and locations. JHA believes this is a oositive steD: vet eiven that this is a longstanding
issue. we still have concerns.
          -:-----
JHA received reports from several inmates that they had particular concerns about double-celling
                                                                                           facilitate
in Unit F. We also received reports that previously a mental health staff member helped
                                                                                several  inmates   in
appropriate assignments, but thir indluidual had resigned. JHA interviewed
dnlt F who appeared desperate for assistance, including some inmates who appeared to be
hallucinating. blt    inmates expressed fear of assault, depression, suicidal thoughts, and some
                   "r
seemed particularly suspicious and paranoid. Poor physical plant conditions,
                                                                                including extreme
                                                                                     theqE inP.Jps
temperat^ure and teffible acoustics, lit.ty make inmates more uncomfortable,.and
*uy U" less likely to sleep, due to lear of cellmates or.Egckroaqhes. adding to instability'
                                                                                   health staff and
Administrators stated that inmates housfrln Unit F are routi;ely seen by mental
                                                                            officials  reported that
crisis team members are on all shifts, seven days a week. Further, IDOC
 the realignment of Unit F has permitted a quieter atmosphere and more privacy
                                                                                 for treatment'

                                                                                            but in Unit
 Cells with plexiglas coverings are typically difficutt to see and communicate through,
                                                                       in the door fronts  that needed
 F, JHA visitors observed in some such ceils a layer debris trapped
                                                                                          and regular
 cieaning. Administrators stated that cleaning supplies are available upon request
                                                                 cells      expressed concerns    about
 cleanin! schedules are followed. Inmates in Plexiglas fronted         also
 tempera:ture and ventilation, which are issues throughout the facility. JHA
                                                                                          repeats our
 recommendation that IDOC must carefully monitor temperature and ventilation control,
                                                                                                    and



                                                                                    purchased on commrssary'
 3e
      Correspondingly, inmates complained of limits on drinking water that could be
 o0
      Administrators noted that a staff painter was hired in March 2013'




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 institute a strategic plan for improvements. Administrators reported that since the visit, three
 large wall-mounted fans were installed in Unit F.

 A fault at many IDOC's antiquated facilities is that heat is either on or off. During the visit, this
 was noted in the non-contact visiting area, which was very hot. Inmates also complained that
 they are not able to effectively regulate temperature and ventilation through us" o1 windows,
 some of which were broken. Given the lack of control over heat, JHA could not understand why
 the facility had to collect inmate jackets at a set time, given the unseasonable low temperatures in
 late Spring this year after the heat was turned off. IDOC officials stated that this was strictly for a
 one-time inventory and replacement of worn-out jackets, noting that after a warm March, April
 was unusually cold.

 JHA receives many complaints about apparel cleanliness and availability throughout IDOC, but
 at Stateville and NRC we have observed numerous inmates with clothing and shoes that were
 literally falling off. Additionally, we observed dirty mattresses and torn sheits.

 JHA visited the dietary area. Fried chicken was being prepared. There were several apparent
 issues in the kitchen, including needed plumbing repairs and an inmate worker was doing some
 repair inside alarge oven. We noted deteriorating flooring and built up debris trapped in various
 corners, likely blown in through vents.
                                                           IDOC officials responaea-trat]ffin E-
 not permltted ln tood preparatlon areas for sanitary reasons and that "snap" traps were eliminated
 when inmates stole them to make weapons, later discovered in routine searches of cells.

Other inmates complained about dietary sanitary practices, unclean food trays, not getting as
much food as in the past, getting spoiled food, cold food, high soy content, no variety, and no
fresh produce. IDOC officials wished to note that JHA cannot confirm or deny the validity of
particular inmates' reports. They deny that Stateville serves spoiled food and that the menu lacks
variety. IDOC officials stated that adult males of low to moderate activity, such as inmates,
require approximately 2,000 calories per day and IDOC inmates get that daily. They also
explained that IDOC bologna is not the reddish color most people are accustomed to due to the
fact that it contains no chemical red dye. Stateville has six gardens and administrators reported
that produce from the gardens is utilized in the facility. JHA recommends that the facility
continue to expand this self-sustaining initiative. Further, we continue to recommend that IDOC
and Stateville consider evidence on the impact of diet, particularly the negative impact of
processed foods, on health and facility management.4l IDOC officials noted ihat they-have a
dietician on staff at Stateville and stated that fresh fruit is part of the Statewide Department
Master Menu.

Stateville runs three library sessions per day with 30 inmates per session for a period of two
hours. Inmates reported it was difficult to get to the library and there was a long waitlist. There
are 10 inmate law clerks, two paralegal assistants, and a library manager. Some inmates reported
that they must pay others with commissary for help with legal work. Inmates reported that books


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   See e.g., JHA's 2012 healthcare report, Recommendation 4, available at
http://thejha.org/sites/defaulilfilesAlnaskedTo20Ouestions-t-lnintendeclZc2OConsequences.pclf.




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and forms needed updates. However, paralegals have access to electronic legal
                                                                                            resources'
                                                                                              reported
Several inmates reported that the typewrilers irittre library had no ink.a2 Administrators
                                                                                             including
this was corrected after the visit. JHA also noted that the library was in need of repairs,
painting and fixes for roof leaks'

Contact with the outside world through phones, visits, and mail, are vitally important
                                                                                            for inmate
*"iiU"irg,*3 particularly where u"iiriti"r are as limited as at IDOC maximum-security
tu"iiiti".]* pue to the proximity of Stateville to Chicago, where most inmates' families reside,
                                                                                     7:30 am to 2:30
this is a heavily visited facility. Nonetheless, visiting hours are limited to only
                                                                                      that these hours
pm daily. JHA recommends that Stateville expand visiting hours. IDOC         reports
are limited due to security concerns. Stateville has an extremely problematic
                                                                                        visiting room,
which is accessed by staiis, small for the population,4s can become         extremely   loud, and has
                                                                                elevated above those
seating configured for security purposes ro ih" inmate's seat is awkwardly
                                                                       to      the attorney visitation
or-ir."uiritori.ou virirors with disabilities may be able to arrange      use
                                                                                            by security
rooms if they are not in use. IDOC officials note that available space is determined
requirements. fUA received a few reports that staff        were reluctant  to guarantee    or  schedule
                                                                                                     to
 special visitation. JHA has also received reports of visitors being treated disrespectfully
                                                                                      and stated that
 discourage visitation. IDOC officials deny that staff discourage visitation
                                                                              must   be  turned away'
 occasiorially visitors violate security and other rules upon arrival and
 However, they report that all allegations of rudeness are investigated'

                                         Programming and IndustrY

 At the time of the visit, there were two Adult Basic Education (ABE)                          classes   with 30 students
                                                                                      Development
 enrolled and g7 on the waitlist. 25 inmates were enrolled in the General Education
 (GED) class, with 42 on the waitlist. In the latest available data, 17 inmates  obtained ABE and
                                                                                vocational program
 11 obtained GED in the prior year. Stateville offered a 1,500-hour barbering
 with five particiPants.aT
                                                                                 at the time of the
 Due to other prison closures, Stateville has acquired additional educators and
 visit, administrators stated they planned to ofier additional GED and    ABE   classes'  Since the
 visit, administrators reported thai educators and classes have been added in each category
                                                                                                and




                                                                                                  due to IDOC
 o,
       Inzolzallpersonal typewriters were confiscated from inmates in maximum-security facilities
                                                                            Menard report' available  at
 determining that inmates were weaponizing typewriter parts. See JHA 2012
 http ://www.thej ha.org/menard.
 @nfinement:AReportoftheCommissiononSafetyandAbuseinArnerica,sPrisons,''p.
 35-37,    available at: httrr:
 ;'lHa"o*.only."@t*irr"m'*t"'thattheydonotevenhavewritinginstrumentsand
                                                                               phone and visitation status'
 they can be comiletely cut off fiom the outside world if they have restricted
 ii stut"ultt"  u""o*.odate     a maximum   of 33 general  population, 20  NRC,  four ADA or special visits, as well as
                    "un
  non-conlact visits, at once.
  46
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      One     - - ^^- c^-
            reason    for rL:^l-
                          this is so-^ that items cannot be passed underneath the table; however, inmates are searched before

  and after visits and this seating arrangement precaution is not used at other
                                                                                       IDOC facilities'
  4't -      ,- - rnn-'^              /)nl 2 A',.*arlrr Pannrt qrrqilehle
      See also,IDOC's April2013              Quarterly Repo(, available   at
                              A
                                 -*:1
        '//www2.illinois. sov/i                                                                         Apr 7c202013.Pdf.
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